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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION



TERRY L. WOLFE,                             :             Case No. 1:12-cv-885
                                            :
       Plaintiff,                           :             Judge Timothy S. Black
                                            :
vs.                                         :
                                            :
CSX TRANSPORTATION, INC.,                   :
                                            :
       Defendant.                           :
                    _______________________________________________

                             JUDGMENT IN A CIVIL CASE
                    _______________________________________________

        X      Jury Verdict: This action came before the Court for a trial by jury. The issues
have been tried and the Jury has rendered its verdict.

       [ ]    Decision by Court:

       IT IS ORDERED AND ADJUDGED: Jury verdict in favor of Plaintiff awarding
damages in the amount of $225,000, less 15% for pre-existing conditions, for a total award of
$191,250; and this case is CLOSED on the docket of the Court.


Date: 3/13/2015                                           RICHARD W. NAGEL, CLERK
                                                          By: s/M. Rogers, D.C.
                                                          Deputy Clerk
